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 2   KAREN A. ESCOBAR
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     2500 Tulare Street
 4   Fresno, CA   93721
     Telephone: (559) 497-4000
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 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     ) 1:07-CR-00316 LJO
                                   )
12                  Plaintiff,     ) STIPULATION AND ORDER THEREON
                                   ) FOR CONTINUANCE
13               v.                )
                                   )
14   RICHARD LIENG,                )
                                   )
15                  Defendant.     )
     ______________________________)
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          Defendant RICHARD LIENG, by and through his attorney, MARK
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     BROUGHTON, and the United States of America, by and through its
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     attorneys, BENJAMIN B. WAGNER, United States Attorney, and KAREN
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     A. ESCOBAR, Assistant United States Attorney, hereby stipulate
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     that the sentencing hearing currently set for June 25 be
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     continued to July 11, 2012, at 8:30 in order to comply with the
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     safety valve provision.     The parties stipulate that the
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     continuance is necessitated by the fact that Defendant is
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     currently housed in Lerdo, counsel for the government will be on
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     annual leave the next two Wednesdays, and counsel for defense is
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     starting a two-week trial on June 25.
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         Case 1:07-cr-00316-DAD-SKO Document 337 Filed 06/08/12 Page 2 of 2


 1   Dated: June 8, 2012                     Respectfully submitted,
 2                                           BENJAMIN B. WAGNER
                                             United States Attorney
 3
 4                                     By:   /s/ Karen A. Escobar
                                             KAREN A. ESCOBAR
 5                                           Assistant U.S. Attorney
 6   Dated: June 8, 2012                     /s/ Mark Broughton
                                             MARK BROUGHTON
 7
 8
                                     O R D E R
 9
              THE COURT FINDS based on the reasons articulated by the
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     parties that the sentencing for the above-named defendant shall
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     be continued from June 25 to July 9, 2012, at 8:30 a.m.
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13   IT IS SO ORDERED.
14   Dated:     June 8, 2012              /s/ Lawrence J. O'Neill
     b9ed48                           UNITED STATES DISTRICT JUDGE
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